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1    Cadee Peters, SBN 225116
     2004 Tulare Street Suite 210
2    Fresno, CA 93721
     Tel. (559) 408-7464
3    Fax. (559) 408-7465
4    Attorney for Defendant, JACQULINE JURADO
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7
                                    UNITED STATES DISTRICT COURT
8
                                EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,)               1:07-CR-00333-LJO
                              )
12                            )
                Plaintiff,    )               STIPULATION AND ORDER
13                            )               TO CONTINUE STATUS CONFERENCE
            vs.               )
14                            )
     Jacquline Jurado,        )
15                            )
                              )
16              Defendant.    )
                              )
17
18          THE PARTIES HEREBY STIPULATE AND AGREE that the status
19   conference presently set for Friday, January 30, 2009, at 9:00
20   a.m., be continued to Friday, February 27, 2009, at 9:00 a.m.
21          The status conference is to be continued for both defendants
22   JACQULINE JURADO and MARIO PENA.
23          Pursuant to Federal Rules of Criminal Procedure section 18
24   U.S.C. 3161, the parties agree that any delay resulting from this
25   continuance shall be excluded in the interest of justice.
26
     //
27
     //
28   Dated: JANUARY 22, 2009.                      /s/ CADEE PETERS
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1                                                 Cadee Peters,
                                                  Attorney for Defendant,
2                                                 Jacquline Jurado
3    Dated: January 22, 2009.                     /s/ DAVID BALAKIAN
                                                  David Balakian,
4                                                 Attorney for Defendant,
                                                  Mario Pena
5
                                                  Stipulation has been agreed to
6                                                 by Mr. Capozzi.
7
     Dated: January 22, 2009.                     /s/ STAN BOONE
8                                                 Stan Boone,
                                                  Assistant U.S. Attorney.
9
                                                  Stipulation has been agreed to
10                                                by Mr. Boone.
11
12                                          ORDER
13   GOOD CAUSE EXISTS.          TIME IS EXCLUDED.
14   IT IS SO ORDERED.
15   Dated:   January 23, 2009                /s/ Lawrence J. O'Neill
     b9ed48                               UNITED STATES DISTRICT JUDGE
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